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Appendix P

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CONASEZ 03206 KHBIES EHH G4 Gra .a8-MedtageH2. 1698s dried 10/07/24 Page 2 of 2

THE FOLLOWING FIELDS HAVE BEEN MODIFIED: *ADDITIONAL INFORMATION *SCHEDULED PAYMENT *HISTORICAL ACCOUNT INFORMATION.
If you have additional questions about this item please contact: CHASE CARD, PO Box 15298, Wilmington, DE 19850-5298 Phone: (800) 945-2000

*7683 02/03/2009 $8,000 Monthly 99 Closed
Reported Update Amount Past Ove Payment Amount Amount Delinquency Activity Ist Rptd Amount Start Date Amount Date Closed
06/28/2023 _$9,772 9.772 11/2020 01/2021 05/2023 S072
ype ~ type of Loan Whose Account Portfolo Status
Charge Off Revolving Flexible Spending Credit Card Individual Account
ADDITIONAL INFORMATION:
Removes Compliance Condition Codes
Charged Off Account
Account Closed By Credit Grantor
Flexible Spending Credit Card
Account History with Status Codes
04/2023 03/2023 02/2023 01/2023 12/2022 11/2022 10/2022 09/2022 08/2022 07/2022
L L L L L t L Lb L L
06/2022 05/2022 04/2022 3/2022 02/2022 01/2022 1272021 11/2021 10/2021 09/2021
L L L L 1, L L L L L
08/2021 07/2021 06/2021 05/2021 04/2021 03/2021 02/2021 01/2021
L L 6 5 4 3 2 1
Historical Account Information
Balance Scheduled {Actual Date of High Credit Amount Type of Activity
Payment Payment Last Credit Limit Past Loan Designator
Amount Amount Payment Due
05/23 |$9,772 $0 11/01/2020 $8,000 Flexible Spending Credit Card Closed
04/23 | No Data Available
eee Sos : uisuatearia stn nee oun gee ane eek Benen eS as oe i ee ei SES ERs
No Data A\
Bees Dae eae st Pee eee a es Se aes See
lo Data Available
Sate Rae Ran RRO apa Rugs TE ee ee ae a ee
01/23 | No Data Available
Le SR Pm ee PoBenimoee were panemrenen aa Rear reee iw aan
12/22 | No Data Available
La ee ee De ee ee ann aN Seana ete ee geteiay ae wee aso
11/22 | No Data Available
SSE ee ee es
10/22 | No Data Available
(Continued On Next Page) Page 4 of 6 3163577260-C9P-0c1d0103000000e9-06282023

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